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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JANE DOE,                                           )
                              Plaintiff,            )
                                                    )       No. 1:17-cv-317
-v-                                                 )
                                                    )       Honorable Paul L. Maloney
CENTREVILLE PUBLIC SCHOOLS,                         )
TERRY MILLER, BARBARA LESTER,                       )
and ROB KUHLMAN,                                    )
                       Defendants.                  )
                                                    )

 ORDER DENYING WITHOUT PREJUDICE MOTION TO BIFURCATE TRIAL

       Defendant Terry Miller requests the trial be bifurcated. (ECF No. 25.) Miller asserts

that some of the evidence that would be admissible for claims against the other defendants

would not be admissible for one of the claims against him and further asserts that the

evidence would be prejudicial.

       Defendant Miller's motion to bifurcate is DENIED WITHOUT PREJUDICE. The

lawsuit is still in the early stages. Discovery is still on-going. The parties have several months

before dispositive motions are due. The motion is premised on the admissibility and

inadmissibility of certain interactions Defendant Miller had with students other than the

plaintiff. At this point in the litigation, the Court has not been asked to determine whether

any evidence would be inadmissible. The Court is reluctant to make such a determination

this early in the proceedings by ruling on a motion to bifurcate. For the motion, Defendant

Miller further assumes that all claims and all defendants will proceed to trial. But, that

assumption may not be warranted as some of the claims against some of the defendants may
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be resolved through summary judgment motions. And, depending on what claims and which

defendants remain in the case after summary judgment, the potential prejudice might not be

an issue. Accordingly, the Court finds the motion to bifurcate is premature. See Fairchild

Stratos Corp. v. Gen. Elec. Co., 31 F.R.D. 301, 301 (S.D.N.Y. 1962) (denying motion to

bifurcate as premature because "[w]hether economy and equity would dictate a single or

separate trials cannot be determined at this early stage."). Defendant Miller may file a new

motion to bifurcate after any motions for summary judgment are resolved.

       IT IS SO ORDERED.

Date: January 29, 2018                                   /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge




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